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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge R. Brooke Jackson



Case No. 15-cr-00383-RBJ-01                                Trial Date        July 9, 2018 ____

Case Title    United States v. Daniel Dirk Coddington

                                          Plaintiff        FINAL WITNESS LIST
                                 (Plaintiff / Defendant)

   WITNESS & ESTIMATED
                                              PROPOSED LENGTH OF TESTIMONY
             DATE
 Marshall Gunn                                       4.5                2.5
                                           Direct: hrs       Cross: hrs          Total: 7 hrs
 Merlyn Curt Geisler                                 3.5                2.5
                                           Direct: hrs       Cross: hrs          Total: 6 hrs
 Daniel Scott Coddington
                                           Direct: 2 hrs     Cross: 1 hr         Total: 3 hrs
 John Slaughter (Citibank)                           20
                                           Direct: min       Cross: 5 min Total: 25 min
 Peter Boys                                          30
                                           Direct: min       Cross: 1 hr         Total: 1.5 hrs
 George Abdalla (Penson)                             30                 45
                                           Direct: min       Cross: min          Total: 75 min
 Crystal Childers (Apex)                             15                 45
                                           Direct: min       Cross: min          Total: 1 hr
 Shelly Davidson (must testify                       30                 45
                                                                                          75 min
 July 12)                                  Direct:   min     Cross:     min      Total:
 Michael Columbia                                                       2.5
                                           Direct: 1hr       Cross:     hrs      Total: 3.5 hrs
 JP Morgan Chase                                     20                 15
                                           Direct: min       Cross:     min      Total: 35 min
 Seth Leyton (must testify July 16)                  1.5
                                           Direct: hrs       Cross: 2 hrs        Total: 3.5 hrs
 Bank of America                                     20                 15
                                           Direct: min       Cross: min          Total: 35 min
 Chad Epley                                          20                 45
                                           Direct: min       Cross: min          Total: 65 min
 Scott Mallory                                                          1.5
                                           Direct: 1 hr      Cross: hrs          Total: 2.5 hrs
 Terrence McCann                                     45                 1.5               2 hrs
                                           Direct: min       Cross: hrs          Total: 15 min
 Kevin Case                                                             2.5
                                           Direct: 2 hrs     Cross: hrs          Total: 4.5 hrs
 Stanley Thomas                                      45                 1.5               2 hrs
                                           Direct: min       Cross: hrs          Total: 15 min
 Ruth Sutherland                                                        1.5
                                           Direct: 2 hrs     Cross: hrs          Total: 3.5 hrs
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 Marcial Baralt (must testify July             45                             1 hr 45
                                                              1 hr
 18)                                 Direct: min     Cross:          Total: min
 Jesse Erwin
                                     Direct: 4 hrs   Cross: 4 hrs    Total: 8 hrs
 Dana Chamberlin                               1.5
                                     Direct: hrs     Cross: 2 hrs    Total: 3.5 hrs
                                     Direct:         Cross:          Total:
                                     Direct:         Cross:          Total:
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